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Exhibit A
Part 3 of 3
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Schondelmeyer, Pharm.D., Ph.D., Stephen W. - Vol. 1]

Washington, DC

February 27, 2009

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL
INDUSTRY AVERAGE WHOLESALE
PRICE LITIGATION
THIS DOCUMENT RELATES TO
U.S. ex rel. Ven-a-Care of
the Florida Keys, Inc.

Vv.

Abbott Laboratories, Inc.,

No. 06-CV-11337-PBS

Videotaped deposition of STEPHEN W.
SCHONDELMEYER, PHARM.D., PH.D.

Volume IIT

Washington, D.C.
Friday,

9:00 a.m.

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MDL NO. 1456
CIVIL ACTION

O1-CV-12257-PBS
Judge Patti B. Saris
Chief Magistrate

Judge Marianne B.

Bowler

February 27, 2009

Henderson Legal Services, Inc.

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1 use that to have a specific meaning. And I wanted to | indicate he was referencing his prior question. So
2 show the connection of the meaning that she has 2 I'd like you to read the prior question where he
3 ordered or stated to the terms that are commonly used 3 directs his attention to the actual paragraph.
4 in the field. 4 (Whereupon, the requested portion was read
5 Q. Did you sit down and calculate the spread 5 by the reporter.)
6 between AWP and WAC and actual sales prices for the | 6 BY MR. MERKL:
7 Dey and Roxane and Abbott drugs in this case? Did you 7 Q. Since that's all garbled up now, let's
8 do that calculation? 8 start again. If you look at what you say in paragrap
9 A. No, I did not. I was not asked to do a 9 160, do you see you attribute an understanding to
10 quantitative assessment. 10 state Medicaid program officials? Do you see that?
1] Q. Thank you. li A. I see the first sentence saying some
12 A. It wasn't needed for any of my opinions. 12 Medicaid officials did become aware of.
13 Q. Allright. You say in paragraph 160 of 13 Q. Okay. Well, what can you tell me the
14 your report -- that's on page 84 at the bottom --"The | 14 officials in Alabama became aware of?
15 state Medicaid programs understood." Do you see that] 15 A. I can't tell you who the person is in
16 And then you continue to say that what you believe 16 Alabama that's the pharmacy Medicaid official.
17 they understood? Do you see that? 17 Q. Alaska?
18 A. I believe so, yes. 18 A. I don't recall the one in Alaska. I do
19 Q. Okay. Now, if we were to start 19 know the officials in many of the states and have met
20 alphabetically at Alabama could you identify for me 20 with and talked to broad groups of --
21 the person at the state that you know in fact 21 Q. What did Arizona understand?
22 understood what you say here? 22 MS. BROOKER: Objection, form, let him
Page 759 Page 761 |
] A. Well, first of all -- 1 finish his answer, please.
2 Q. Can you answer my question? 2 A. Arizona for most of this time didn't even
3 MR. BREEN: Objection, form. 3. have a Medicaid program.
4 A. Well, this is a statement that describes 4 Q. Okay. Why don't you tell me the states
5 state Medicaid programs collectively. I over time 5 where you know the names of the officials that you ca
6 have interacted with and presented at meetings of 6 tell me exactly what the officials understood about
7 state Medicaid pharmacy administrators a number of 7 the program.
8 times and do know many of those individuals. And have] 8 MS. BROOKER: Objection, form.
9 had conversations with them over great amounts of 9 A. Over many years I've had conversations with
10 time. And that's the basis for that comment. 10 and meetings with and discussions with. Medicaid
il MR. MERKL: Move to strike the answer. 11 officials such as Martha McNeil in Texas, Benny
12 Read my question back, please. 12 Rideout in North Carolina, Jerry Wells of Florida.
13 (Whereupon, the requested portion was read 13. Many others. I can't name all of them.
14 _ by the reporter.) 14 Q. So you've told me you've spoken with
15 MR. BREEN: With all due respect to the 1S officials at Texas, Florida, North Carolina. Are
16 court reporter, I think his question included the 16 there any other states that you can identify for me?
17 prefatory reference to the particular paragraph. If 17 A. Those are just ones --
18 you'll read the statement counsel made immediately 18 MS. BROOKER: Objection, form.
19 before the question, I'd appreciate it. 19 A. Those are ones I can recall off the top of
20 MR. COOK: It was a separate question and 20 my head. As I said, I've talked -- there are groups
21 answer, Jim, that you're thinking of. 21 of -- there's the Western Medicaid Pharmacy
22 MR. BREEN: The predicate "now" seems to 22 Administrators Association and I've been invited

8 (Pages 758 to 761)

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numbers of times to talk to that group which is a I
meeting of just the state Medicaid pharmacy 2
consultants from each of the states in the western 3
half of the U.S. And then there's a southern pharmacy | 4
administrators association. I met with that group on 5
several occasions and provided both presentations as 6
well as dialogues and discussions with the individuals | 7
responsible for their pharmacy and Medicaid programs. | 8
Q. Well, what did the individual members of 9
those associations tell you about their understanding| 10
about the Medicaid program? I want you to identify) 11

Page 764 |
period of time.

Q. And what time period was Mr. Rideout in
North Carolina?

A. [haven't memorized their curriculum vitae
or resume.

Q. So other than those three individuals can
you identify any individuals from any state that told
you what their expectation was for Medicaid?

MS. BROOKER: Objection, form.

A. There were numerous other state

representatives. | just can't remember all of the

them, please. 12 names of them. Again, this is meetings over the last
MS. BROOKER: Objection, form. 13. 20 years with these people.
A. This paragraph 160 based on both those 14 Q. So other than the three people you've just
discussions and other information and experience with |15 named from Texas, Florida and North Carolina you
16 Medicaid programs represents what I believe they 16 cannot today under oath identify for me any state
17 understood. That's what it says. I believe this to 17 Medicaid official who told you what that state
18 be a true paragraph. 18 Medicaid's programs expectation for the program were’ |
19 Q. Martha McNeil is no longer employed by 19 MS. BROOKER: Objection, form.
20 Texas, is she? 20 A. I can today under oath say that I have met
21 A. She has retired now. But she was 21 with multiple many, many state Medicaid pharmacy
22 throughout | think probably most all of the time 22 directors and had conversations that support this
Page 763 Page 76
1 period of this case. 1 statement.
2 Q. And who was the fellow in Florida you 2 Q. Okay. What are their names?
3 mentioned? 3 A. And I've told you I can’t remember their
4 A. Jerry Wells. 4 specific names. But I could go back and check the
5 Q. He's no longer employed by Florida, is he? 5 records of those meetings and who attended and
6 A. He may not be today, but he was I believe 6 identify who they are. But I don't commit to memory
7 through most of the time period in this case. 7 all of the audiences that I speak io as a presenter or
8 Q. And North Carolina who was the individual? | 8 all of the people I meet with at professional meetings
9 A. Benny Rideout. 9 over a 20-plus year time period.
10 Q. Is she still there? 10 Q. Did you make any effort to determine
li A. I believe he has in the last couple years 11 whether any of the Abbott, Roxane or Dey drugs in
12 retired also. But again was -- through most of the 12 these cases were subject to FULs?
13 time period of this case was at North Carolina. 13 A. Again, that wasn't substantially critical
14 Q. Well, what time period was Martha McNeil in| 14 _ to any of the opinions I've offered here. So I did
15 Texas exactly? 15 not make that assessment.
16 A. I don't know when she started and ended. 16 Q. So you did not do that?
17 But she was there a long time. She was an institute 17 A. Idid not, no.
18 in the Texas Medicaid program. 18 Q. In paragraph 145 of your report, please,
19 Q. For what time period exactly was Jerry 19 you say "Just knowing the URA for a drug product doe
20 Wells in Florida? 20 not mean that one knows the price any given pharmacy
21 A. 1 don't know the exact time period. We 21 paid." Do you see that?
22 could document that. But he was there for a long 22 A. I see that, yes.

9 (Pages 762 to 765)

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| said. | did review them at the time of the report and 1 A. Sitting here today I can't tell you I

2 took those into appropriate consideration. 2 reviewed the documents that were disclosed and on my |

3 Q. How about Abbott? 3. file. I reviewed documents related to Dey's price

4 A. The same. | don't recall specifically, but 4 reporting to the price databases.

5 1 do believe there were e-mails with the price 5 Q. Well, was it necessary for you to review

6 reporting agencies and | did review those at the time 6 the complete record of all Dey's price reporting fro

7 of the report and took those into appropriate 7 1992 to 2005 in order for you to form the conclusiong

8 consideration. 8 in your report?

9 Q. So you could not tell me for instance then 9 A. I believe I provided sufficient description
10 what representations Dey has made over time to the| 10 of what the basis for my statements and conclusions
ll different price reporting agencies? li are.

12 MS. BROOKER: Objection, form. 12 Q. So you did not do that?

13 A. I can't sitting here today. I did review 13 A. Did not do what?

14 that at the time | prepared my report and took that 14 Q. You did not review a complete record of all |
15 into appropriate consideration. 15 Dey's price reporting from 1992 to 2005 in order for]
16 Q. Can you tell me which price reporting 16 you to form the conclusions in your report? :
17 agencies Dey reported prices to and how often? 17 A. I did not feel it was necessary to review

18 MS. BROOKER: Objection, form. 18 each and every price reported by Dey and the detailed

19 A. Well, | know for example First Databank has [19 actual prices by Dey. Again, the quantitative role
20 a process that once a year sends a comprehensive list {20 was the role of a different expert in this case and I
21 of NDCs listed to each manufacturer and asks them to | 21 wasn't asked to evaluate this in a quantitative sense.

22 verify or provide any updates. I know also that 22 Q. Well, did you review at least one price
Page 779 Page 781 |

1 typically manufacturers such as Dey when they have a | reported by Dey for each and every NDC number in thi :

2 new product or a substantial price change initiate 2 case? :

3 communication with First Databank and the other price | 3 A. [reviewed documents internally at Dey that

4 databases so that their prices are listed and so that 4 described their prices and described how they reported

5 it has the impact in the market. 5 their prices to the price databases for various

6 They realize this is used for reimbursement 6 products and statements that showed that Dey realized

7 and if there are changes in your prices that aren't 7 they weren't reporting actual acquisition or actual

8 reflected quickly in those price databases that you 8 prices generally and currently paid.

9 hear back from your customers. 9 Q. So other than the documents in your report
10 Q. You're telling me what generally happens. 10 you did not review any Dey price reporting documents? :
11 What I'm asking you is specifically can you tell me II MS. BROOKER: Objection, form.
12 what price reporting agencies Dey reported price to | 12 A. I reviewed others. | did see some
13 and how often? 13 documents that would have been Dey price reporting
14 MR. BREEN: Objection, form. 14 that were in the disclosures that were provided.

15 Q. Specifically can you tell me that? 15 Q. Take a look at your Abt report for a
16 A. I recall reviewing some documents that 16 minute, the graphs we were looking at yesterday.

17 showed Dey reports. I did not analyze and feel like I 17 A. Which Abt report?

18 needed to analyze that to underlie any of the issues 18 Q. Abbott 381. Take a look at the graphs we
19 in my report. 19 were looking at yesterday.

20 Q. So you don't know who Dey reported WAC to 20 A. Which graphs are you referring to?
21 and how often Dey reported a WAC? 21 Q. Page 6 maybe. Keep going. Next. There
22 MS. BROOKER: Objection, form. 22 you go.

13 (Pages 778 to 781)

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1 these compendia originally when they were published 1 expert was performing that analysis.
2 were published as an annual volume in a big, thick 2 Q. And other than the deposition of
3 book that people bought. But that was in the 1970s 3. Ms. Water -- well, let me start again.
4 and 80s. Now that we're in the computer age these 4 How many deposition transcripts did you
5 compendia exist in databases. And most users of these | 5 review in which Ms. Water gave a deposition? How many,
6 compendia buy computer files. And many of the state 6 days of deposition transcripts did you review?
7 Medicaid programs, particularly, since most of them 7 A. I don't recall. I'd have to look back in
8 base their reimbursement only on AWP, they only buy 8 the documents and the records. Again, | don't commit
9 the AWP file from the price compendia because they 9 things like that to memory. | have plenty of things
10 don’t rely upon, don't use WAC and don't say they're 10 to read and remember and track.
11 going to use WAC. 1 Q. In the 40 to 70 hours that it took you to
12 So just having the AWP doesn't necessarily 12 prepare for the testimony you would give today, did
13 mean that one has access to or has incurred the 13. you review any of Ms. Water's transcripts?
14 financial cost to have access to WAC as well. And if 14 A. No, I did not.
15 it's not specified as a part of their reimbursement 15 Q. And you also stated that you reviewed
16 criteria they may not have a need for it. 16 somebody --
17 Q. And if in 1996 Roxane reports a WAC and anj 17 A. May I clarify? That's in the time
18 AWP to the compendia for ipratropium bromide, it is| 18 preparing for today's deposition. Not in the time
19 informing the marketplace of the relationship betwee 19 preparing my report prior to that time, which was also
20 those two prices, correct? 20 preparation for this deposition. I did review that
21 MS. BROOKER: Objection, form. 21 prior to the time of preparing my report and took into
22 MR. BREEN: Objection, form. 22 account what was there.
Page 823 Page 825 |
I A. Ifthey are reporting those one could | Q. And how did you review Ms. Water's
2 examine that relationship. Again, that doesn't tell 2 transcript? What criteria did you use? Did you
3 you about the relationship to actual transaction 3 review the transcript from front to finish?
4 prices. That's a different issue. 4 MS. BROOKER: Objection, form.
5 Q. You didn't review all of the marketing 5 A. Idid kind of a skim read and looked for
6 materials with respect to the drug families at issue 6 issues with respect to pricing or reimbursement.
7 in the government's case against Roxane? 7 Q. And what criteria would you use to :
8 MR. BREEN: Objection, form. 8 determine issues related to pricing or reimbursement
9 A. I'm sorry. Is that a question? 9 with respect to the review of Ms. Water's transcript? '
10 Q. Yes. Is that true? 10 A. Finding the term reimbursement, price, :
1] A. [believe that was a statement the first 11 finding a dollar sign, issues like that.
12 time. 12 Q. So you looked for the word "price" in
13 Q. Well, I'm asking it as a question. You 13. Ms. Water's transcript, a dollar sign?
14 didn't review all of the marketing materials 14 A. That's one approach, yes.
15 associated with the drugs at issue in the government'y 15 Q. A dollar sign?
16 case against Roxane, true? 16 A. Right. That would indicate a price usually
17 A. I did not review all marketing documents in 17 unless it was her salary or something. I don't recall
18 the case. I did review the ones that as best I could 18 her reporting that. But dollar signs would be a good
19 tell dealt with prices and reimbursement related 19 clue of price related information.
20 issues. Another expert was asked to address the 20 Q. Anything else?
21 marketing issues. I wasn't asked to address the broad =| 21 A. | said the word "reimbursement.". AWP, WAC,
22 marketing general issues. I was aware that another 22 list price, you know, there are other terms and

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24 (Pages 822 to 82 5)

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Page 926 Page 928 |
1 A. It depends on if you count that in 1 MS. BROOKER: Objection, form.
2 dispensing cost -- usually isn't -- cost of dispensing 2 A. It should take into account the
3 doesn't include profit. Dispensing fee might. You 3. consideration of a reasonable profit as a part of the
4 stated it as dispensing cost component, rather than 4 dispensing fee. But again, that’s -- I'm not aware of
5 dispensing fee component. 5 anything in my report that addresses that or that
6 Q. Thank you for that correction. So Medicaid 6 would be changed based on that policy. This is not
7 drug payment policy incorporates an ingredient cost 7 related to a line of questioning that I can pin down
8 component, a dispensing fee component and a reasonabl¢ 8 to my report in particular. /
9 profit? 9 Q. You agree that some state Medicaid agencie
10 MR. BREEN: Objection, form. 10 have deliberately established the ingredient cost
11 A. That's a consideration in it. But you have 11 payment levels which offer a margin relative to the |
12 to realize there's also the usual and customary charge 12 acquisition cost of drugs, correct? :
13 which is a single charge that those are melded 13 MS. BROOKER: Objection, form.
14 together. So there are different -- there's a lower 14 A. That's a very complex question that's not
15 of criteria and there are a number of steps. There's 15 easy to answer. | think there may be a small
16 nota singular formula. It's a multiple-staged 16 component of the ingredient cost payment that some
17 formula. 17 states realize might have a margin. But I'm fairly
18 Q. And putting aside the usual and customary 18 confident that the states don't know the real margin
19 charge submitted by a pharmacy, one component of 19 between the reimbursement that they create based off
20 Medicaid drug payment policy is this idea of a 20 ofan AWP minus or a WAC plus and the actual
21 dispensing fee, correct? 21 ingredient costs based on the price generally and
22 A. One component is a dispensing fee. 22 currently charged by providers in the market because
Page 927 Page 929 :
1 Q. And putting aside, again, the usual and 1 they do not know the price generally and currently
2 customary charge, the other component represents the | 2 paid by providers in the market on an actual basis.
3 ingredient cost? 3 And so they have no basis for making a
4 A. You mean the drug product ingredient cost? 4 rational conscious policy decision about such a margin
5 Q. Yes. 5 if they chose to do so.
6 A. That is another component, yes. 6 Q. You agree that a state's decision to
7 Q. And it is your testimony that it is 7 establish an ingredient cost payment within the |
8 appropriate for Medicaid programs to include a profit | 8 Medicaid program which provides a margin relative t )
9 component somewhere within this calculus of dispensing 9 acquisition cost of the drug is appropriate, correct? = |
10 fee and ingredient cost reimbursement, correct? 10 MS. BROOKER: Objection, form.
1] MS. BROOKER: Objection, form. 11 A. Again, I can't answer that as a simple yes
12 A. Again, I don't recall if I address that -- 12 or no, correct or incorrect answer. If they comply
13 [don't believe that was in my report specifically. I 13 with all the other regulations and the in the
14 didn't address the other components. I was addressing 14 aggregate the result equals the amount that the
15 the drug ingredient cost component is all that I think 15 estimated acquisition cost being clearly defined as
16 I was asked to do and encompassed in my report. I do 16 the price generally and currently paid by providers
17 think there is Medicaid policy that says the 17 plus a reasonable dispensing fee, it may be possible.
18 dispensing fee component should take into 18 But there's that standard that it's always measured
19 consideration the cost and overhead costs of the 19 against in terms of a benchmark. So they can't do
20 pharmacy as well as a reasonable profit. 20 that in separation from that standard.
2] Q. So Medicaid policy should include a 2] Q. So state Medicaid programs can provide a
22 reasonable profit to providers, correct? 22 margin relative to the acquisition cost of a drug in

50 (Pages 926 to 929)

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February 27, 2009

Washington, DC

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A. | have that Exhibit 5.

Q. Now, you state -- why don't you turn to
page 12. I'm going to ask you a question about a
sentence that appears on that page. You agree that
adequate compensation to a pharmacy includes a return
on investment for that pharmacy, correct?

A. Some form of reasonable profit or return on
investment. And that could be defined by either of
those methods we defined earlier or others. But some
recognition that the pharmacy is a private business,
not a non-profit business.

Q. Right. So it's not enough that the
pharmacy is just going to receive a penny more than
its costs; it also must receive a reasonable return on
investment as you defined that term earlier in your
testimony, correct?

MS. BROOKER: Objection.

A. Well, again --

THE WITNESS: Read me the question, because
I want to make sure I understand the context in what
you've asked.

(Whereupon, the requested portion was read

phd mth
Wo Wb Dome H NN BS WY

NPN ee ee
Ne Soo aH

Page 1064 [|
amount at which sufficient pharmacies to provide |
access to Medicaid beneficiaries -- to the degree that |
they're paid below an amount sufficient to encourage |
pharmacies to continue providing prescriptions to :
Medicaid patients, then that might be a factor that
Medicaid would consider.

From a pharmacy provider's perspective each |
one would probably tell you I should get a return on |
investment or a profit for each prescription. And I
agree with both perspectives from the position in
which each party sits.

Q. And it your belief that Medicaid intends to}
provide either a profit or a reasonable return on |
investment to pharmacies that participate in the
Medicaid program?

MS. BROOKER: Objection, form.

A. Again, I don't think I can answer it that
way. | think Medicaid intends to assure access and |
would consider and provide sufficient profit or return
on investment only to the degree to which it begins to,
affect access for beneficiaries.

Q. You've testified on several points that

hf ahah pa php Pht
Oem Dm BWwWN KK DO rms DAN Bw N

RN Ww
BQ met CD

Page 1063
by the reporter.)

A. Are we talking in terms of Medicaid and
Medicaid's obligation or the pharmacy and the pharmacy
owner's decision as a business person? Because those
would be different perspectives here.

BY MR. REALE:

Q. In the context of determining an adequate
compensation so that beneficiaries have access to
quality care, it's your testimony that pharmacies
should receive a reasonable return on investment,
correct?

MS. BROOKER: Objection, form.

A. Again, I'm not sure that I address that in
my report in this case. But from the California case
in this section you're talking about, on the one hand
I don't think Medicaid is obligated to pay either a
profit or a reasonable return on investment in all
cases to all pharmacies regardless of what their cost
structure is.

But if a pharmacy is fairly efficient
compared to other pharmacies I think to the degree
that pharmacies are paid or compensated below an

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Noh bt
Ne ©

Page 1065 |
you've worked with pharmacies quite a bit over the
years. Is that fair to say?

A. Ihave some. And with the government as
well.

Q. And you understand pharmacies’ margins [
based on your experience, margins between cost and |
profit? :

MS. BROOKER: Objection, form.

A. Are you talking about gross margins, net
margins?

Q. Sure.

A. All of the above?

Q. Yes.

A. Okay. I believe I understand that in
general.

Q. And you're familiar with pharmacies' :
economic motivations as those have been expressed ta,
you in your work over the years? :

MS. BROOKER: Objection, form.

A. Ibelieve lam. There are a variety of
contexts and circumstances that can affect those.

Q. Asa general proposition you've come to

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1 UNITED STATES DISTRICT COURT :
2 FOR THE DISTRICT OF MASSACHUSETTS
3 ee ee ee ee eek
4 IN RE: PHARMACEUTICAL ) MDL NO. 1456
5 INDUSTRY AVERAGE WHOLESALE ) CIVIL ACTION
6 PRICE LITIGATION ) 0O1-CV-12257-PBS
7 THIS DOCUMENT RELATES TO )
8 U.S. ex rel. Ven-a-Care of ) Judge Patti B. Saris

9 the Florida Keys, Inc. )

10 Vv. ) Chief Magistrate
11 Abbott Laboratories, Inc., ) Judge Marianne B.
12 No. 06-CV-11337-PBS ) Bowler

13 (caption continues) )

14 me

15

16 Videotaped deposition of

17 STEPHEN W. SCHONDELMEYER, PHARM.D., PH.D.

18 Volume IV

19

20 Washington, D.C.

21 Thursday, May 21, 2009

22 9:00 a.m.

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1 without knowing it for each and every individual 1 BY MR. COOK:
2 drug and adding it up. 2 Q. Where else would you look to determine
3 Q. You keep referring to it in the 3 what Medicaid's intent is other than the
4 disjunctive: "Or in the aggregate." Is it your 4 regulations and the official statements in the
5 testimony that when the Medicaid program, when| 5 Federal Register of the Department of Health and
6 CMS, applies its regulations to a state plan 6 Human Services?
7 amendment it either determines that the standard 7 A. That's useful information. | think one,
8 you just described apply or in the aggregate it's 8 Ihave not done this. But one could depose or ask
9 no more than some amount? Is that it? 9 questions of officials that were in place at
10 A. | don't understand your indefinite 10 various points in time. I believe that's been
11 pronoun "it." 11 done in this case.
12 Q. Is that a fair description of how the 12 Q. Have you read those deposition
13. standard's CMS applies in determining whether to 13 transcripts?
14 approve a state plan amendment? 14 A. I've read through some of them, but not
15 A. Well, there are many factors they review 15 extensively. I did not have them available before
16 in approving a state plan amendment. 16 | wrote my report certainly.
17 Q. Where are those set forth? 17 Q. Why not?
18 A. Where are what? 18 A. Depositions of all of the parties? I
19 Q. Where are the factors that CMS considers | 19 believe some of the state Medicaid people were
20 in approving a state plan amendment with respect|20 deposed after | wrote my report.
21 to Medicaid drug reimbursement set forth? 21 Q. Well, I'm talking about CMS now. I'm :
22 A. They're in statutes and regulations. 22 talking about the Department of Health and Huma :
Page 1256 Page 1258 |.
| Q. Allright. Show me in your report where | Services Centers for Medicare and Medicaid
2 you describe to the jury what those statutes and 2 Services. There was testimony taken from current
3 regulations are with respect to CMS approving a 3 and former officials with CMS, correct?
4 state plan with respect to the payment for drugs? | 4 A, There was some, yes.
5 A. I don't understand what you're getting 5 Q. There was testimony taken from the
6 at. 6 administrator of HCFA at various relevant times,
7 Q. You purport to describe what the intent 7 including Bruce Viadek and Nancy Anne Min DeParle
8 of the Medicaid program is in both your report and 8 correct?
9 your rebuttal report, correct? 9 A. Yes.
10 A. 1 do report what their stated intent is, 10 Q. Did you undertake to read all of the
11 yes. 1] testimony relevant to your opinion from officials
12 Q. And you would agree with me that the 12. from CMS?
13 best evidence of what the Medicaid program's 13 A. I'm not sure that I've read all of their
14 intent is is what the Medicaid program -- that is, 14 testimony, no.
15 the Department of Health and Human Services -- | 15 Q. Did you read all of the regulations
16 says in published regulations and in preambles to | 16 relevant to the payment for drugs under Medicaid?
17 the published regulations, right? 17 That is, federal regulations.
18 THE WITNESS: Can you read back? I 18 A. Substantially. I wouldn't say all, but
19 think I got lost in his. 19 substantially.
20 (Whereupon, the requested portion 20 Q. Did you read all and consider all of the
21 was read by the reporter.) 21 Federal Register notices of rulemaking describing
22 A. I believe that's useful evidence. 22 the promulgation of rules relating to the payment

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Schondelmeyer, Pharm.D., Ph.D., Stephen W. - Vol. V

Washington, DC

May 22, 2009

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL
INDUSTRY AVERAGE WHOLESALE
PRICE LITIGATION
THIS DOCUMENT RELATES TO
U.S. ex rel. Ven-a-Care of
the Florida Keys, Inc.

Vv.
Abbott Laboratories, Inc.,

No. 06-CV-11337-PBS

(caption continues)

Videotaped deposition of STEPHEN W.
SCHONDELMEYER, PHARM.D., PH.D.

Volume V

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MDL NO. 1456
CIVIL ACTION

O1-CV-12257-PBS

Judge Patti B. Saris

Chief Magistrate
Judge Marianne B.

Bowler

Washington, D.C.

Friday,

May 22, 2009

9:00 a.m.

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Washington, DC

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flipped through it and looked for various
sections. | don't recall a specific strategy of
what I read or how.

Q. What sections were you looking for when
you flipped through?

A. I didn't have a specific objective. |
looked at it briefly.

Q. Did you have the complete transcript
available for all three days?

Oo CO DAN & WP

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some time ago -- | would have asked for documents |
related to pricing or marketing documents with
pricing strategies or information in them.

Q. Was there a reason why you didn't ask
to see all the documents?

A. There was another expert who actually
had as his scope of responsibility looking at all
the marketing behavior. Matthew Perri. And so |
wasn't asked to redo his work or duplicate that

A. I believe I did, yes. 10 work.
Q. Did you have the exhibits? 11 Q. And I'm correct then that in terms of
A. The exhibits. Not that I know of. 12. making the cut in terms of what documents on
Q. And yesterday you said something about] 13 marketing issues you did look at, the lawyers
you had a clarification or a question about somd 14 decided which documents to give you, right?
testimony you gave concerning marketing 15 MS. ST. PETER-GRIFFITH: Object to the,
documents? 16 form.
A. Yeah. I recall from our deposition a 17 A. lasked for the broad categories and
question about what | had asked for from the 18 someone made a determination of what documents
lawyers and | had asked for marketing documents | 19 those represented. I did not attempt to and have
related to pricing type information, not 20 not reviewed all documents presented in this
21 necessarily all marketing documents. 21° case.
22 Q. Right. So am I correct that at your 22 Q. No. lunderstand that. You've
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| deposition in the first session you testified | explained to me you did not read all marketing |
2 that you asked for all marketing documents but 2 documents, let alone all the documents in the
3 that on reviewing your testimony and further 3 case, right?
4 reflection you realized you did not ask for all 4 A. For any purpose, selecting, let alone
5 the marketing documents? 5 reviewing them in detail.
6 A. I don't recall exactly what I had 6 Q. Right. So you didn't look at them all.
7 testified at the earlier deposition. But I felt 7 Allright? Someone selected some marketing
8 there was some degree of -- a lack of clarity 8 documents for you to review, right?
9 about what I had asked for. 9 A. Documents related to pricing or
10 Q. Allright. Well, why don't you clarify 10 marketing documents that were related to prices.
1] itnow. As it concerns Dey anyway, when you were |! Q. Right. And those selections were made
12 preparing your report did you ask your lawyers to| 12 by the lawyers, right?
13 give you all the Dey marketing documents? 13 A. I don't know who actually did it. But
14 A. No. I don't believe so. 14 it was --
15 Q. Which marketing documents did you ask | 15 Q. Okay.
16 your lawyers to give you? 16 A. -- represented to me.
17 MS. ST. PETER-GRIFFITH: Object to the | 17 Q. The lawyers handed you the documents;
18 form. 18 whether the lawyers or someone acting at their |
19 Q. I'm sorry. Which marketing documents 19 behest selected the documents you don't know? |
20 did you ask the lawyers for the government and | 20 A. The set of documents were provided to
21 Ven-A-Care to give you? 21 me based upon my request.
22 A. As best | recall -- and again, that was 22

Q. And that request was what exactly? Wha

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Washington, DC

DR
TO eI A A BWP RK OW MATA NA wd —

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did you say to give you?

A. I believe I've stated that several
times.

Q. Well, yeah. The first time you said
give me all the documents. Now you're telling mq
that that might be an error. I'm just asking you
what is your clarification? If you didn't ask
for all of the documents what documents did you
ask for?

A. As I've said several times today,
documents related to pricing or marketing
documents related to pricing.

Q. Well, how can you be sure that you got
all the relevant documents related to pricing if
you didn't get all?

A. I can't be absolutely certain I got all
the relevant documents. I believe that I got
documents that are sufficient to put forward the
opinions that I have in this case and those
opinions are sufficiently documented with the

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A. Within the scope of what I asked for, :
yes, | am. ;
Q. And when you say you -- did you say to |
them, well, just give me some marketing and) |,
pricing documents? What did you say?

A. I believe I've stated that several
times this afternoon. I asked for documents
related to pricing and marketing documents
related to pricing.

Q. Right. Well, what criteria did you :
give them to select the documents, if any? You]
didn't ask for all. So you must have given them]
some criteria, right?

A. Specifically what I just described.

Q. All you said just now from what I
understand, you said give me some pricing and}
marketing documents. Right? :

A. No. That's a mischaracterization. |
didn't say give me some marketing and pricing
documents.

21 documents I reviewed. 21 Q. Okay.
22 Q. But you don't know -- you don't really 22 A. Isaid give me documents that address
Page 1689 Page 1691 |
| know if you saw all the relevant documents | pricing or marketing documents that are related
2 because you ultimately relied on counsel to 2 to pricing.
3 select them? 3 Q. Okay.
4 MS. ST. PETER-GRIFFITH: Object tothe 4 A. I didn't say some. I didn't qualify it
5 form. 5 or limit it.
6 A. I feel confident with the opinions I 6 Q. Did you ask for all of them?
7 put forward based on the documents I've reviewed. | 7 A. I stated it as I just described.
8 MR. MERKL: Read my question back 8 Q. But you didn't ask for all?
9 again. 9 MS. ST. PETER-GRIFFITH: Object to the,
10 (Whereupon, the requested portion was 10 form.
11 read by the reporter.) 11 A. I stated it exactly as I just described
12 BY MR. MERKL: 12 as best I know.
13 Q. True? 13 Q. What did you do to make sure that you
14 MS. ST. PETER-GRIFFITH: Same 14 got all the documents that related to pricing and
15 objection. 15 marketing?
16 A. I made a request for certain documents 16 MS. ST. PETER-GRIFFITH: Object to the,
17 as 1 described to you of counsel. I was provided 17 form.
18 aset of documents and I assumed that they had 18 A. Again, I can't be a hundred percent
19 faithfully provided that information as 19 sure because | have not reviewed all of the
20 requested. 20 thousands upon thousands of documents in this
2] Q. Right. So you're assuming that counsel | 21 case. I made that request of the lawyers and
22 gave you everything that was necessary? 22 asked if these were the documents that they felt

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